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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION

UNITED STATES OF AMERICA                   )       Criminal Action No. 5:12CR00014
                                           )
v.                                         )       ORDER
                          )
ANTONIO DEMETRIUS WILLIAMS)                       By: Michael F. Urbanski
    Defendant.            )                       United States District Judge

        In accordance with the accompanying Memorandum Opinion, it is hereby

ORDERED as follows:

        1. Williams' motion to vacate, set aside, or correct his sentence pursuant to 28

           U.S.C. § 2255 (ECF No. 583) will be set for evidentiary hearing;

       2. The Clerk will appoint counsel to represent Williams at the hearing;

        3. The Clerk will schedule the evidentiary hearing and arrange for Williams to appear

           at the hearing by video conference from his place of incarceration; and

        4. Williams' appointed habeas counsel may file a supplemental brief addressing the

           issues raised in Williams' motion thirty (30) days before the date the evidentiary

           hearing is scheduled. The government may file any brief in response fourteen

           (14) days after service ofWilliams' supplemental brief.

       The Clerk is directed to send copies of this Order and the accompanying

Memorandum Opinion to~.

        ENTER: This      /j   day ofNovember, 2016.

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                                                   United States Distric1Judge
